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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


 UNITED STATES OF AMERICA,                            :
 Plaintiff                                            :
                                                      :1:20-mj-00034-LDA
 v.                                                   :
                                                      :
 David Adler Staveley                                 :
 Defendant                                            :



                                    MOTION TO WITHDRAW

        Now comes George J. West, court-appointed counsel for the Defendant in this matter and
 moves that the Court will enter an order allowing him to withdraw from the representation of the
 Defendant. The reason for the request is that Mr. Staveley has retained counsel of his choice
 who has entered his appearance in the case.


                                       Respectfully submitted,




                                       _/s/__George J. West_____________________
                                       George J. West, #3052
                                       One Turks Head Place, Suite 312
                                       Providence, RI 02903-2215
                                       401-861-9042
                                       401-861-0330 fax



                                         CERTIFICATION

  I hereby certify that I caused the filing of the above-entitled Motion through the United States
 District Court for the District of Rhode Island’s ECF System to be forwarded to the attorney for
 the Government ,this 2 day of June, 2020.

                                                                         /s/ George J. West
